                       Case 1:21-cr-00225-DLF Document 1 Filed 02/24/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                 Treniss Jewell Evans III
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. §§ 1512(c)(2) & 2- Obstruction of Justice/Congress,
        18 U.S.C. § 1752(a)(1) & (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D) & (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Robert Mayo, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                               2021.02.24
Date:             02/24/2021
                                                                                                               14:56:37 -05'00'
                                                                                                  Judge’s signature
                                                                            ZIA M. FARUQUI, U.S. MAGISTRATE JUDGE
City and state:                         :DVKLQJWRQ'&                        _                          _
                                                                                               Printed name and title
